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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

ABDULLAH RABBAT,

       Plaintiff,

v.                                                              Case No: 6:17-cv-278-Orl-28KRS

COVINGTON SPECIALTY INSURANCE COMPANY,

       Defendant.
___________________________________

                                         NOTICE TO COUNSEL

                                                 Yemil Aragon

       Pursuant to Local Rule 2.01, you are not a member of the Middle District of Florida and must be
(re)admitted to practice in the Court due to the following:

       No person shall be permitted to appear or be heard as counsel for another in any proceeding in this
       Court unless first admitted to practice in the Court (or heretofore admitted under prior rules of the
       Court). Only those persons who are members in good standing of The Florida Bar shall be eligible
       for general admission to the bar of the Court. (See Local Rule 2.01(a) & (b))

       To maintain good standing in the bar of this Court, each attorney must pay a renewal fee set by
       administrative order and, unless exempted by the Chief Judge for good cause, must register with
       the Clerk of Court and maintain an e-mail address for electronic service by the Clerk during the
       attorney’s membership in the bar of this Court. An attorney who fails to pay timely the fees or
       fails without exemption to maintain a registered e-mail address is subject to removal from
       membership in the bar of this Court.(See Local Rule 2.01(d))

       Once counsel has been admitted to practice, counsel must register for a CM/ECF login and
       password.

       Please review Rule 2.01 of the Local Rules of the United States District Court for the Middle District of
Florida for readmission to practice in the Middle District. The Attorney Admission procedures are available at
www.flmd.uscourts.gov under the Attorney Resources section (Tampa tab).



                                             SHERYL L. LOESCH, CLERK

                                             s/ A.D., Deputy Clerk
